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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       *
                                                *
                     Plaintiff,                 *
                                                *
vs.                                             * No. 4:10-cr-00249-02-SWW
                                                *
                                                *
                                                *
ELIJAH ANTOINE GHOSTON,                         *
                                                *
                     Defendant.                 *

                                            ORDER

       Pursuant to the grant of the government’s oral motion to amend the indictment as made at

the change of plea hearing held on August 2, 2011, the indictment as to Elijah Antoine Ghoston

is amended to reflect that Count 20 references Count 19, not Count 13 as stated in the

indictment.



                      IT IS SO ORDERED this 3rd day of August 2011.

                                                    /s/Susan Webber Wright

                                             UNITED STATES DISTRICT JUDGE
